     Case 1:18-cv-00255-ADA-BAM Document 70-3 Filed 10/03/23 Page 1 of 4


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 8                              IN THE UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10                                             FRESNO DIVISION
11

12
      MICHAEL MADDEN, Successor-in-                             1:18-CV-00255-ADA-BAM
13    Interest to Ryan P. Madden, et al.,
                                                                DEFENDANTS’ STATEMENT OF
14                                            Plaintiffs,       UNDISPUTED FACTS IN SUPPORT OF
                                                                MOTION FOR SUMMARY JUDGMENT
15                    v.
16
      HICKS, et al.,
17
                                            Defendants.
18

19
20          Pursuant to Local Rule 260(a) and Federal Rule of Civil Procedure 56, Defendants Silva

21    and Hicks submit the following statement of undisputed facts in support of their motion for

22    summary judgment. These facts are undisputed for purposes of this motion only, and Defendants

23    reserve the right to present different or additional facts in any future motion or at trial.

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                           Defs.’ Statement of Undisputed Facts in Supp. Mot. Summ. J. (1:18-CV-00255-ADA-BAM)
     Case 1:18-cv-00255-ADA-BAM Document 70-3 Filed 10/03/23 Page 2 of 4


 1        UNDISPUTED MATERIAL FACT                               SUPPORTING EVIDENCE
      1. During the events at issue in this case,          ECF No. 1 at 1; H. Moseley Dec. Ex. 3.
 2    former plaintiff and decedent Ryan Madden
      was an inmate incarcerated with the
 3    California Department of Corrections and
      Rehabilitation (CDCR) at California State
 4    Prison, Corcoran.
 5    2. At the time Ryan Madden filed the                 ECF No. 1.
      operative complaint, he was an inmate
 6    incarcerated with CDCR at California State
      Prison, Los Angeles County.
 7
      3. CDCR provided inmates and parolees such H. Moseley Dec., ¶¶ 1-2
 8    as Madden with a comprehensive
      administrative grievance and appeals process.
 9
      4. Ryan Madden was aware of the CDCR            H. Moseley Dec. Exs. 1 & 2; ECF No. 1 at
10    administrative grievance process and had        17.
      exhausted several other grievances in the past.
11
      5. During the relevant period, the CDCR              H. Moseley Dec., ¶ 2.
12    Office of Appeals (OOA) received, reviewed,
      and maintained all offender grievances
13    appealed to the final level of review that are
      not related to health care issues.
14

15    6. Decisions by the CDCR OOA represent               H. Moseley Dec., ¶ 4.
      the final level of review in CDCR’s grievance
16    and appeal process and are rendered on behalf
      of the Secretary of CDCR.
17
      7. A final decision by the CDCR OOA is               H. Moseley Dec. ¶ 6; Cal. Code Regs. Tit. 15,
18    generally required to exhaust administrative         § 3084.1(b) (2016).
      remedies for an inmate or parolee grievance.
19
      8. On January 5, 2017, Ryan Madden filed a           H. Moseley Dec. Ex. 4 at 2.
20    relevant grievance (TLR No. 1707293, an
      appeal of grievance log no. COR-17-00137)
21    regarding Officer Hicks’ alleged use of force
      during the incident on December 1, 2016.
22
      9. Ryan Madden’s administrative grievance            H. Moseley Dec. Ex. 4 at 2-5.
23    (TLR No. 1707293, an appeal of grievance
      log no. COR-17-00137) did not contain any
24    factual allegations that would identify
      Lieutenant Silva.
25
      10. Ryan Madden’s administrative grievance           H. Moseley Dec. Ex. 4 at 6.
26    (TLR No. 1707293, an appeal of grievance
      log no. COR-17-00137) received a decision at
27    the second level of review on June 1, 2017.

28    11. Ryan Madden’s administrative grievance           H. Moseley Dec. Ex. 4 at 1; H. Moseley Dec.
                                                       2
                        Defs.’ Statement of Undisputed Facts in Supp. Mot. Summ. J. (1:18-CV-00255-ADA-BAM)
     Case 1:18-cv-00255-ADA-BAM Document 70-3 Filed 10/03/23 Page 3 of 4


 1    (TLR No. 1707293, an appeal of grievance               Ex. 1.
      log no. COR-17-00137) was cancelled at the
 2    third level of review for being untimely.
 3    12. The third level cancellation decision for          H. Moseley Dec. Ex. 4 at 1.
      Ryan Madden’s administrative grievance
 4    (TLR No. 1707293, an appeal of grievance
      log no. COR-17-00137) advised that the
 5    cancellation decision could be separately
      appealed.
 6
      13. Ryan Madden did not appeal the                     H. Moseley Dec. Exs. 1, 2, & 4;
 7    cancellation decision for TLR No. 1707293,
      (an appeal of grievance log no. COR-17-
 8    00137).
 9    14. On February 7, 2017, Ryan Madden filed             H. Moseley Dec. Ex. 3 at 3.
      a relevant grievance (TLR No. 1704206, an
10    appeal of grievance log no. COR-17-00616)
      regarding the due process he received during
11    the adjudication of Rules Violation Report
      (RVR) Log No. 16630.
12
      15. Ryan Madden’s administrative grievance             H. Moseley Dec. Ex. 3 at 7.
13    (TLR No. 1704206, an appeal of grievance
      log no. COR-17-00616) received a decision at
14    the second level of review on March 17,
      2017.
15
      16. Ryan Madden’s administrative grievance             H. Moseley Dec. Ex. 3 at 1.
16    (TLR No. 1704206, an appeal of grievance
      log no. COR-17-00616) received a decision at
17    the third level of review on July 25, 2017.
18
      17. Ryan Madden’s administrative grievance             H. Moseley Dec. Ex. 3 at 1-6.
19    (TLR No. 1707293, an appeal of grievance
      log no. COR-17-00137) did not contain any
20    factual allegations regarding Officer Hicks,
      Lieutenant Silva, or the December 1, 2016
21    incident.

22    18. Ryan Madden’s administrative grievance
      (TLR No. 1707293, an appeal of grievance
23    log no. COR-17-00137) did not ask prison
      officials for relief regarding Officer Hicks’ or
24    Lieutenant Silva’s conduct.
      19. The third level decision Ryan Madden               H. Moseley Dec. Ex. 3 at 1-2.
25    received for his administrative grievance
      (TLR No. 1704206, an appeal of grievance
26    log no. COR-17-00616) did not address any
      of his excessive force or retaliation claims
27    against Officer Hicks and Lieutenant Silva.

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                         Defs.’ Statement of Undisputed Facts in Supp. Mot. Summ. J. (1:18-CV-00255-ADA-BAM)
     Case 1:18-cv-00255-ADA-BAM Document 70-3 Filed 10/03/23 Page 4 of 4


 1    Dated: October 3, 2023                              Respectfully submitted,

 2                                                        ROB BONTA
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 3                                                        TYLER V. HEATH
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 4

 5
                                                          /s/Brian S. Chan
 6

 7

 8                                                        BRIAN S. CHAN
                                                          Deputy Attorney General
 9                                                        Attorneys for Defendants
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